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 7                                   UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    UNITED STATES OF AMERICA,                       No. 2:08-cr-093-KJM
11                      Plaintiff,
12           v.                                       ORDER
13    JEREMY MICHAEL HEAD,
14                      Defendant.
15

16                 On June 4, 2018, defendant Jeremey Michael Head filed a motion to vacate, set

17   aside or correct his sentence under 28 U.S.C. § 2255. ECF No. 1579. Three weeks later, on June

18   25, 2018, Head filed a 44-page memorandum in support of his §2255 motion. ECF No. 1584.

19   Then, on July 2, 2018, Head filed a motion to amend his § 2255 motion. ECF No. 1586.

20                 The government filed a statement of non-opposition to Head’s motion to amend.

21   ECF No. 1588. As the government notes, although styled as a motion to amend, Head seeks to

22   provide “additional” grounds for his § 2255 motion and therefore seeks to supplement rather than

23   replace his earlier motion. See ECF No. 1586 (identifying “additional 28 U.S.C. § 2255 motion

24   grounds, beginning with “Ground 14”). On August 3, 2018, plaintiff filed a reply. ECF No.

25   1593.

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      Case 2:08-cr-00093-KJM Document 1594 Filed 08/08/18 Page 2 of 2


 1                 The court construes Head’s motion as a motion to supplement and GRANTS that
 2   motion. The government shall file a response to Head’s § 2255 motion, as supplemented, see
 3   ECF Nos. 1579, 1584, 1586, within 45 days. Head’s reply, if any, shall be filed within 30 days
 4   thereafter.
 5                 IT IS SO ORDERED.
 6   DATED: August 8, 2018.
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 8                                                   UNITED STATES DISTRICT JUDGE
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